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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


    IN RE: LIQUID ALUMINUM SULFATE                        16-md-2687 (JLL) (JAD)
    ANTITRUST LITIGATION

    This Document Relates to: ALL ACTIONS


    ORDER GRANTING MOTION TO WITHDRAW MARK A. GRIFFIN AND RAYMOND
          J. FARROW AS COUNSEL OF RECORD FOR PLAINTIFFS CITY OF
      SACRAMENTO, CITY OF TACOMA, CITY OF SPOKANE, CITY OF EVERETT,
          CITY OF SCOTTSDALE, CITY OF PHOENIX, AND CITY OF MESA

           The motion to withdraw Keller Rohrback LLP attorneys Mark A. Griffin and Raymond J.

    Farrow as counsel of record for Plaintiffs City of Sacramento, City of Tacoma, City of Spokane,

    City of Everett, City of Scottsdale, City of Phoenix, and City of Mesa in the above-captioned

    matter is GRANTED.

           The Clerk of the Court is ordered to remove Mark A. Griffin and Raymond J. Farrow

    form the docket for this case.

    Dated: ________________


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                                                MAGISTRATE JUDGE MICHAEL A. HAMMER
                                                UNITED STATES MAGISTRATE JUDGE




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